                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

RYAN LAW FIRM, LLP,                                    §
                                                       §
                  Plaintiff,                           §
                                                       §
v.                                                     §
                                                       §                      1:19-CV-629-RP
NEW YORK MARINE AND GENERAL                            §
INSURANCE COMPANY,                                     §
                                                       §
                   Defendant.                          §

                                           FINAL JUDGMENT

        On this day, the Court considered Defendant’s Motion for Entry of Judgment. The Court

grants the motion as follows:

        Based upon the Jury’s Verdict, (Dkt. 156), the Court enters a final take nothing judgment in

favor of Defendant New York Marine and General Insurance Company and against Plaintiff Ryan

Law Firm, LLP. 1

        IT IS ORDERED that New York Marine is awarded its costs in the amount of $26,120.50.

        IT IS FURTHER ORDERED that Plaintiff Ryan Law Firm, LLP is denied all relief and

shall take nothing. This is a Final Judgment pursuant to Fed. R. Civ. P. 58.

        IT IS FINALLY ORDERED that this action is CLOSED.

         SIGNED on March 8, 2023.
                                                  _____________________________________
                                                  ROBERT PITMAN
                                                  UNITED STATES DISTRICT JUDGE




1 While the parties submitted a joint proposed final judgment, Ryan Law has noted that it disagrees with the

jury’s findings and objects to the entry of a take-nothing judgment. Ryan Law has noted that it does not
acquiesce in its substance or waive any of the positions previously advanced to the Court. Ryan Law has
further noted that it does not intend to limit or waive its right to challenge all adverse rulings in post-
judgment motions or on appeal.
